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                       EXHIBIT A
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )       Chapter 11
                                                          )
    CRED INC., et al.,                                    )       Case No. 20-12836 (JTD)
                                                          )
                                       Debtors.1          )       (Jointly Administered)
                                                          )
                                                          )

                             INDEX OF FINAL FEE APPLICATIONS
                      TO BE CONSIDERED AT THE JUNE 17, 2021 HEARING

1.           Second Monthly and Final Fee Application of Examiner and Brown Rudnick LLP, as Co-
             Counsel to Examiner, for Allowance of Compensation and Reimbursement of
             Disbursements Pursuant to 11 U.S.C. §§ 330 and 331 for Period January 8, 2021 through
             April 19, 2021 (Filed 5/14/21) [Docket No. 770]

             Related Documents:

             (a)    First Monthly Fee Application of Examiner and Brown Rudnick LLP, as Co-
                    Counsel to Examiner, for Allowance of Compensation and Reimbursement of
                    Disbursements Pursuant to 11 U.S.C. §§ 330 and 331 for the Period January 8,
                    2021 through January 31, 2021 (Filed 2/25/21) [Docket No. 561]

             (b)    Certificate of No Objection (Filed 3/19/21) [Docket No. 663]

             (c)    Certification of Counsel Regarding the Second Monthly and Final Fee
                    Application of Examiner and Brown Rudnick LLP, as Co-Counsel to Examiner,
                    for Allowance of Compensation and Reimbursement of Disbursements Pursuant
                    to 11 U.S.C. §§ 330 and 331 for Period January 8, 2021 through April 19, 2021
                    (Filed 6/10/21) [Docket No. 824]

             Objection Deadline: June 3, 2021 at 4:00 p.m. (ET).

             Responses Received: Informal comments from the Cred Inc. Liquidation Trust (the
                                 “Trust”), which have been resolved by agreement via a voluntary
                                 reduction in fees requested. Such fee reduction is reflected in the



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      The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification number,
      as applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred Capital, Inc. (4064), Cred Merchant
      Solutions LLC (3150), and Cred (Puerto Rico) LLC (3566). The Debtors’ mailing address is 3 East Third Avenue,
      Suite 200, San Mateo, California 94401.
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                           proposed Omnibus Order Approving Final Fee Applications
                           [Docket No. 839-1] (the “Proposed Omnibus Order”).

2.   Second Combined Monthly and Final Fee Application of Ashby & Geddes, P.A. for
     Compensation for Services Rendered and Reimbursement of Expenses Incurred as
     Delaware Counsel to the Examiner for (I) the Monthly Period from February 1, 2021
     through April 19, 2021, and (II) the Final Period January 8, 2021 through April 19, 2021
     (Filed 5/14/21) [Docket No. 771]

     Related Documents:

     (a)    First Monthly Fee Application of Ashby & Geddes, P.A. for Compensation for
            Services Rendered and Reimbursement of Expenses Incurred as Delaware
            Counsel to the Examiner for the Period from January 8, 2021 through January 31,
            2021 (Filed 3/1/21) [Docket No. 574]

     (b)    Certification of No Objection (Filed 3/23/21) [Docket No. 676]

     (c)    Supplement to Second Combined Monthly and Final Fee Application of Ashby &
            Geddes, P.A. for Compensation for Services Rendered and Reimbursement of
            Expenses Incurred as Delaware Counsel to the Examiner for (I) the Monthly
            Period from February 1, 2021 through April 19, 2021, and (II) the Final Period
            January 8, 2021 through April 19, 2021 (Filed 6/9/21) [Docket No. 817]

     (d)    Certification of Counsel Regarding Second Combined Monthly and Final Fee
            Application of Ashby & Geddes, P.A. for Compensation for Services Rendered
            and Reimbursement of Expenses Incurred as Delaware Counsel to the Examiner
            for (I) the Monthly Period from February 1, 2021 through April 19, 2021, and
            (II) the Final Period January 8, 2021 through April 19, 2021 (Filed 6/10/21)
            [Docket No. 825]

     Response Deadline: June 3, 2021 at 4:00 p.m. (ET)

     Responses Received: Informal comments from the Trust, which have been resolved by
                         agreement via a voluntary reduction in fees requested. Such fee
                         reduction is reflected in the Proposed Omnibus Order.

3.   First and Final Fee Application of Ankura Consulting Group, LLC for Allowance of
     Compensation and Reimbursement of Expenses (Filed 5/14/21) [Docket No. 772]

     Related Documents:

     (a)    Certification of Counsel Regarding First and Final Fee Application of Ankura
            Consulting Group, LLC, as Financial Advisor to the Examiner, for the Period
            from February 3, 2021 through and including March 3, 2021 (Filed 6/10/21)
            [Docket No. 826]

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     Response Deadline: June 3, 2021 at 4:00 p.m. (ET)

     Responses Received: Informal comments from the Trust, which have been resolved by
                         agreement via a voluntary reduction in fees requested. Such fee
                         reduction is reflected in the Proposed Omnibus Order.

4.   Combined Sixth Monthly and Final Fee Application of Cousins Law LLC for
     Compensation for Services Rendered and Reimbursement of Expenses as Co-Counsel to
     the Debtors for the Period from November 7, 2020 through April 19, 2021 (Filed
     5/14/21) [Docket No. 774]

     Related Documents:

     (a)    First Monthly Application of Cousins Law LLC for Payment of Compensation
            and Reimbursement of Expenses for the Period from November 8, 2020 through
            November 30, 2020 (Filed 1/8/21) [Docket No. 342]

     (b)    Certification of No Objection (Filed 1/29/21) [Docket No. 438]

     (c)    Second Monthly Application of Cousins Law LLC for Payment of Compensation
            and Reimbursement of Expenses for the Period from December 1, 2020 through
            December 31, 2020 (Filed 1/22/21) [Docket No. 401]

     (d)    Certification of No Objection (Filed 2/16/21) [Docket No. 509]

     (e)    Third Monthly Application of Cousins Law for Payment of Compensation and
            Reimbursement of Expenses for the Period from January 1, 2021 through January
            31, 2021 (Filed 2/16/21) [Docket No. 511]

     (f)    Certification of No Objection (Filed 3/1021) [Docket No. 616]

     (g)    Fourth Monthly Application of Cousins Law LLC for Payment of Compensation
            and Reimbursement of Expenses for the Period from February 1, 2021 through
            February 28, 2021 (Filed 3/15/21) [Docket No. 637]

     (h)    Certification of No Objection (Filed 4/6/21) [Docket No. 698]

     (i)    Fifth Monthly Application of Cousins Law LLC for Payment of Compensation
            and Reimbursement of Expenses for the Period from March 1, 2021 through
            March 31, 2021 (Filed 4/16/21) [Docket No. 711]

     (j)    Certification of No Objection (Filed 5/7/21) [Docket No. 761]

     (k)    Certification of No Objection (Filed 6/8/21) [Docket No. 815]



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     Response Deadline: June 3, 2021 at 4:00 p.m. (ET)

     Responses Received: None.

5.   First Interim and Final Application of Paul Hastings LLP for Allowance and Payment of
     Compensation and Reimbursement of Expenses for the Period from November 7, 2020
     through Final Fee Hearing (Filed 5/14/21) [Docket No. 775]

     Related Documents:

     (a)    First Monthly Application of Paul Hastings LLP for Payment of Compensation
            and Reimbursement of Expenses for the Period from November 7, 2020 through
            November 30, 2020 (Filed 1/8/21) [Docket No. 340]

     (b)    Certification of No Objection (Filed 1/29/21) [Docket No. 439]

     (c)    Second Monthly Application of Paul Hastings LLP for Payment of Compensation
            and Reimbursement of Expenses for the Period from December 1, 2020 through
            December 31, 2020 (Filed 2/2/21) [Docket No. 461]

     (d)    Certification of No Objection (Filed 2/26/21) [Docket No. 564]

     (e)    Third Monthly Application of Paul Hastings LLP for Payment of Compensation
            and Reimbursement of Expenses for the Period from January 1, 2021 through
            January 31, 2021 (Filed 3/3/21) [Docket No. 581]

     (f)    Certification of No Objection (Filed 3/26/21) [Docket No. 682]

     (g)    Fourth Monthly Application of Paul Hastings LLP for Payment of Compensation
            and Reimbursement of Expenses for the Period from February 1, 2021 through
            February 28, 2021 (Filed 3/31/21) [Docket No. 696]

     (h)    Certification of No Objection (Filed 4/21/21) [Docket No. 736]

     (i)    Fifth Monthly Application of Paul Hastings LLP for Payment of Compensation
            and Reimbursement of Expenses for the Period from March 1, 2021 through
            March 31, 2021 (Filed 4/16/21) [Docket No. 710]

     (j)    Certification of No Objection (Filed 5/7/21) [Docket No. 762]

     (k)    Sixth Monthly Application of Paul Hastings LLP for Payment of Compensation
            and Reimbursement of Expenses for the Period from April 1, 2021 through April
            30, 2021 (Filed 5/14/21) [Docket No. 779]
     (l)    Certification of No Objection (Filed 6/10/21) [Docket No. 821]



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     (m)    Certification of Counsel Regarding First Interim and Final Application of Paul
            Hastings LLP for Allowance and Payment of Compensation and Reimbursement
            of Expenses for the Period from November 7, 2020 through Final Fee Hearing
            (Filed 6/10/21) [Docket No. 829]

     Response Deadline:   June 3, 2021 at 4:00 p.m. (ET); extended to June 9, 2021 for the
                          U.S. Trustee.

     Responses Received: Informal comments from the Trust and the U.S. Trustee, which
                         have been resolved by agreement via voluntary reductions in fees
                         and expenses requested. Such fee and expense reductions are
                         reflected in the Proposed Omnibus Order.

6.   Final Fee Application of MACCO Restructuring Group, LLC for Payment of
     Compensation and Reimbursement of Expenses for the Period from November 7, 2020
     through March 31, 2021 (Filed 5/14/21) [Docket No. 776]

     Related Documents:

     (a)    First Monthly Fee Application of MACCO Restructuring Group LLC as Financial
            Advisors to the Debtors for Allowance of Compensation for Services Rendered
            and Reimbursement of Expenses Incurred for the Period of November 7, 2020
            through November 30, 2020 (Filed 1/11/21) [Docket No. 345]

     (b)    Certification of No Objection (Filed 2/2/21) [Docket No. 459]

     (c)    Second Monthly Fee Application of MACCO Restructuring Group LLC as
            Financial Advisors to the Debtors for Allowance of Compensation for Services
            Rendered and Reimbursement of Expenses Incurred for the Period of December
            1, 2020 through December 31, 2020 (Filed 1/18/21) [Docket No. 360]

     (d)    Certification of No Objection (Filed 2/9/21) [Docket No. 494]

     (e)    Third Monthly Fee Application of MACCO Restructuring Group LLC as
            Financial Advisors to the Debtors for Allowance of Compensation for Services
            Rendered and Reimbursement of Expenses Incurred for the Period of January 1,
            2021 through January 31, 2021 (Filed 2/16/21) [Docket No. 510]

     (f)    Certification of No Objection (Filed 3/10/21) [Docket No. 615]

     (g)    Fourth Monthly Fee Application of MACCO Restructuring Group LLC as
            Financial Advisors to the Debtors for Allowance of Compensation for Services
            Rendered and Reimbursement of Expenses Incurred for the Period of February 1,
            2021 through February 28, 2021 (Filed 3/31/21) [Docket No. 695]

     (h)    Certification of No Objection (Filed 4/21/21) [Docket No. 735]

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     (i)    Fifth Monthly Fee Application of MACCO Restructuring Group LLC as Financial
            Advisors to the Debtors for Allowance of Compensation for Services Rendered
            and Reimbursement of Expenses Incurred for the Period of March 1, 2021
            through March 31, 2021 (Filed 4/19/21) [Docket No. 728]

     (j)    Certification of No Objection (Filed 5/12/21) [Docket No. 766]

     (k)    Certification of No Objection (Filed 6/8/21) [Docket No. 814]

     Response Deadline: June 3, 2021 at 4:00 p.m. (ET)

     Responses Received: None.

7.   Combined Fifth Monthly and Final Fee Application Request of Sonoran Capital Advisors
     LLC for Compensation for Services Rendered and Reimbursement of Expenses Incurred
     as Financial Advisor to the Debtors for the Period from November 30, 2020 through
     April 30, 2021 (Filed 5/14/21) [Docket No. 777]

     Related Documents:

     (a)    First Monthly Fee Statement by Sonoran Capital Advisors LLC for Compensation
            Earned and Expenses Incurred for the Period November 30, 2020 through and
            including December 31, 2020 (Filed 1/8/21) [Docket No. 339]

     (b)    Second Monthly Fee Statement by Sonoran Capital Advisors LLC for
            Compensation Earned and Expenses Incurred for the Period January 1, 2021
            through and including January 31, 2021 (Filed 2/3/21) [Docket No. 469]

     (c)    Third Monthly Fee Statement by Sonoran Capital Advisors LLC for
            Compensation Earned and Expenses Incurred for the Period February 1, 2021
            through and including February 28, 2021 (Filed 3/3/21) [Docket No. 580]

     (d)    Fourth Monthly Fee Statement by Sonoran Capital Advisors LLC for
            Compensation Earned and Expenses Incurred for the Period March 1, 2021
            through and including March 31, 2021 (Filed 4/5/21) [Docket No. 697]

     (e)    Certification of No Objection (Filed 6/8/21) [Docket No. 812]

     Response Deadline: June 3, 2021 at 4:00 p.m. (ET)

     Responses Received: None.

8.   Final Fee Application of Teneo Capital Group LLC for the Period of November 16, 2020
     through January 15, 2021 (Filed 5/14/21) [Docket No. 778]


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     Related Documents:

     (a)    Certification of No Objection (Filed 6/8/21) [Docket No. 813]

     Response Deadline: June 3, 2021 at 4:00 p.m. (ET)

     Responses Received: None.

9.   Fifth Monthly and Final Fee Application of Donlin Recano & Company, Inc. as
     Administrative Advisor to the Debtors for Allowance of Compensation and
     Reimbursement of Expenses Incurred for the Monthly Period from April 1, 2021 through
     April 19, 2021 and the Final Period from November 7, 2020 through and including April
     19, 2021 (Filed 5/17/21) [Docket No. 780]

     Related Documents:

     (a)    First Monthly Application of Donlin, Recano & Company, Inc. for Compensation
            for Services Rendered and Reimbursement of Expenses as Administrative
            Advisor to the Debtors for the Period December 1, 2020 through December 31,
            2020 (Filed 1/19/21) [Docket No. 362]

     (b)    Certification of No Objection (Filed 2/17/21) [Docket No. 512]

     (c)    Second Monthly Application of Donlin, Recano & Company, Inc. for
            Compensation for Services Rendered and Reimbursement of Expenses as
            Administrative Advisor to the Debtors for the Period January 1, 2021 through
            January 31, 2021 (Filed 2/18/21) [Docket No. 520]

     (d)    Certification of No Objection (Filed 6/10/21) [Docket No. 822]

     (e)    Third Monthly Application of Donlin, Recano & Company, Inc. for
            Compensation for Services Rendered and Reimbursement of Expenses as
            Administrative Advisor to the Debtors for the Period February 1, 2021 through
            February 28, 2021 (Filed 3/16/21) [Docket No. 649]

     (f)    Certification of No Objection (Filed 6/10/21) [Docket No. 823]

     (g)    Fourth Monthly Application of Donlin, Recano & Company, Inc. for
            Compensation for Services Rendered and Reimbursement of Expenses as
            Administrative Advisor to the Debtors for the Period March 1, 2021 through
            March 31, 2021 (Filed 4/16/21) [Docket No. 712]

     (h)    Certification of No Objection (Filed 5/7/21) [Docket No. 760]

     (i)    Certification of No Objection (Filed 6/8/21) [Docket No. 816]


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      Response Deadline: June 7, 2021 at 4:00 p.m. (ET)

      Responses Received: None.

10.   First and Final Fee Application of Dundon Advisers LLC, Financial Advisor for the
      Official Committee of Unsecured Creditors, for Allowance of Compensation for Services
      Rendered for the Period from December 7, 2020 to April 19, 2021 (Filed 5/19/21)
      [Docket No. 783]

      Related Documents:

      (a)    Certification of No Objection (Filed 6/10/21) [Docket No. 819]

      Response Deadline: June 8, 2021 at 4:00 p.m. (ET)

      Responses Received: None.

11.   Fifth Monthly and Final Fee Application of McDermott Will & Emery LLP, Counsel to
      the Official Committee of Unsecured Creditors, for Allowance of Compensation and
      Reimbursement of Expenses for (I) the Monthly Period from April 1, 2021 through April
      19, 2021 and (II) the Case Period from December 5, 2020 through April 19, 2021 (Filed
      5/19/21) [Docket No. 784]

      Related Documents:

      (a)    First Monthly Fee Application of McDermott Will & Emery LLP, Counsel to the
             Official Committee of Unsecured Creditors, for Allowance of Compensation and
             Reimbursement of Expenses for the Period from December 5, 2020 through
             December 31, 2020 (Filed 1/20/21) [Docket No. 371]

      (b)    Certification of No Objection (Filed 2/11/21) [Docket No. 506]

      (c)    Second Monthly Fee Application of McDermott Will & Emery LLP, Counsel to
             the Official Committee of Unsecured Creditors, for Allowance of Compensation
             and Reimbursement of Expenses for the Period from January 1, 2021 through
             January 31, 2021 (Filed 3/8/21) [Docket No. 611]

      (d)    Certification of No Objection (Filed 3/30/21) [Docket No. 693]

      (e)    Third Monthly Fee Application of McDermott Will & Emery LLP, Counsel to the
             Official Committee of Unsecured Creditors, for Allowance of Compensation and
             Reimbursement of Expenses for the Period from February 1, 2021 through
             February 28, 2021 (Filed 3/19/21) [Docket No. 664]

      (f)    Certification of No Objection (Filed 4/12/21) [Docket No. 703]


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(g)     Fourth Monthly Fee Application of McDermott Will & Emery, Counsel to the
        Official Committee of Unsecured Creditors, for Allowance of Compensation and
        Reimbursement of Expenses for the Period from March 1, 2021 through March
        31, 2021 (Filed 4/16/21) [Docket No. 721]

(h)     Certification of No Objection (Filed 5/7/21) [Docket No. 759]

(i)     Notice of Filing of Time Detail in Support of Approval of Estimated Fees (Filed
        6/10/21) [Docket No. 820]

(j)     Certification of Counsel Regarding Fifth Monthly and Final Fee Application of
        McDermott Will & Emery LLP, Counsel to the Official Committee of Unsecured
        Creditors, for Allowance of Compensation and Reimbursement of Expenses for
        the (I) the Monthly Period from April 1, 2021 through April 19, 2021 and (II) the
        Case Period from December 5, 2020 through April 19, 2021 (Filed 6/14/21)
        [Docket No. 834]

Response Deadline:    June 8, 2021 at 4:00 p.m. (ET); extended to June 11, 2021 for the
                      U.S. Trustee.

Responses Received: Informal comments from the Trust and the U.S. Trustee, which
                    have been resolved by agreement via voluntary reductions in fees
                    and expenses requested. Such fee and expense reductions are
                    reflected in the Proposed Omnibus Order.




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